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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF TEXAS
DALLAS DIVISION

Civil Action No. 3-06cv2322-N
BLANCA VALENZUELA, MARGIE SALAZAR, JOSE A. SERRATO,
JOSIE RENDON, CLARA TOVAR, CONSUELO ESPINO, MARIA
AVILA, ERNESTINA NAVARRETTE, MARIA E. MUNOZ, AMANDA
SALCIDO, CANDELARIO G. ORTEGA, MARIA ORTIZ, JOSE
OLIVA, RAFAELA CHAVEZ, ELODIA ARROYO, SUSANA CARDIEL,
GRACIE RIOS and LEONEL RUIZ, individually and on
behalf of all others similarly situated,
Plaintiffs,

Vv.
SWIFT BEEF COMPANY, INC., d/b/a SWIFT COMPANY, SWIFT &

COMPANY, HICKS, MUSE, TATE & FURST, INC., HM CAPITAL
PARTNERS OF DALLAS, LLC, and JOHN DOES I-V,

Defendants.

DEPOSITION OF: ERIC A. RAY - April 9, 2008

PURSUANT TO NOTICE, the deposition of
ERIC A. RAY was taken on behalf of the Plaintiffs at
1770 Promontory Circle, Greeley, Colorado 80634, on
April 9, 2008, at 2:00 P.m., before Sharon L. Szotak,
Registered Professional Reporter, Certified Realtime

Reporter, and Notary Public within Colorado.

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APPEARANCES

For the Plaintiffs:

For the Defendants:

ERIC D. PEARSON, ESQ.

Heygood, Orr, Reyes &
Bartolomei

2331 West Northwest Highway

Second Floor

Dallas, Texas 75220

ROBERT E. YOULE, ESQ.
Sherman & Howard LLC
633 17th Street, Suite 3000

Denver, Colorado 80202

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EXAMINATION OF ERIC A. RAY: PAGE

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INITIAL

DEPOSITION EXHIBITS: (Previously marked) — REFERENCE

7 Form dated 8/18/06 for Claudia Lima Cruz, 15

with attachments
11 Letter to Cangemi from Shandley, 7/5/06, 13

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WHEREUPON, the following proceedings
were taken pursuant to the Federal Rules of Civil

Procedure.

ERIC A. RAY,
having been first duly sworn to state the whole truth,

testified as follows:

EXAMINATION

BY MR. PEARSON:

Q. Mr. Ray, would you state your full name
for the record, please.

A. My name is Eric Allen Ray.

Q. And where do you currently work, Mr. Ray?

A. JBS Swift Company at the Greeley beef
plant and lamb plant.

Q. What is your position?

A. Director of human resources.

Q. For both of those plants?

A. Yes.

Q. How long have you had that position?

A. Since July.

Q. July of 2007?

A. Yes.
Q. What was your position prior to that?
A. I was the director of human resources in

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our Cactus facility.
Q. How long were you in that position?
A. Approximately a year and a half.
Q. Where had you been prior to that?

A. I worked at our Louisville, Kentucky,

facility. It's a pork plant.

Q. ‘In what capacity?

A. As HR manager.

QO. Is that a different position than HR
director?

A. Yes.

Q. Is that one level below that, or --

A. Yes.

Q. Would you report to the HR director?

A. Yes.

Q. And for how long had you been in that

position?

A. I was in that position approximately two
years.

Q. And what about prior to your time in

Louisville, where were you?

A. I worked for a staffing agency in

Cookville, Tennessee.

Q. So your first position with Swift was at

the Louisville pork facility?

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A. Yes.

Q. Why did you leave Cactus to go to Greeley
in 2007?

A. The opportunity to come to Greeley.

Q. And leave Cactus? Who had had your
position in Greeley prior you taking the job?

A. Dwayne Newkirk.

Q. Do you know why he left?

A. No.

Q. Who took your position in Cactus?
A. Michael Herrera.
Q. What were your duties as director of human

resources in Cactus?

A. Tt was anything related to human
resources.

Q. So that would include hiring?

A. Yes.

Q. Okay. And you also worked on compliance

issues relating to immigration laws?

A. Yes.

Q. And is that the same with your current
position in Greeley?

A. Yes.

Q. Did you have -- have you had any input in

the development of any policies or procedures at Swift

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for reviewing the paperwork of job applicants to its
processing facilities?

MR. YOULE: Could you break that down?
You have two different questions. First was input into
policies and the second one was -- I thought it was if
he actually engaged in the activity.

MR. PEARSON: Okay. I'll try to make a
better question.

Q. (BY MR. PEARSON) There's been some prior
testimony of some evolution in the procedures that
Swift used for hiring with respect to trying to ferret
out illegal aliens. Are you familiar with those types
of changes to the policies and procedures?

A. Yes.

Q. As an HR director at Cactus and then at
Greeley, did you have any firsthand involvement in
implementing those changes?

A. Those changes were presented to us.

Q. And then you just carried them out?

A. Yes.

Q. But did you have any input on what the
changes were going to be before they were made, or you
just were told, here's the new policies and procedures

and to carry them out?

A. We were told that that's what the policies

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were.

QO. When you were the director of human
resources in Cactus, tell me what, if anything, Swift
did to prevent illegal immigrants from being hired in
its Cactus facility.

A. We followed the procedures set forth in
the employers handbook for completing an I-9. Followed
the I-9 in a nutshell. Used -- I don't remember what
it was called then, if it was E-Verify or Basic Pilot,
but whichever, you know, of those phrases it was called

then. We did those things.

Q. And were the policies and procedures that

were employed at the Cactus facility to try to prevent

Swift from hiring illegal aliens, were those policies
and procedures that were dictated by Swift corporate?
A. Yes.
Q. And is that still true today at Greeley?
A. Yes.
Q. Was it -- from your experience going from
Cactus to Greeley, were there any differences in the
way Swift went about trying to prevent illegal
immigrants from being hired at the two facilities?

A. No.

Q. It was pretty uniform between the

different facilities, from what you saw?

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A. Yes.

Q. And when you were the director of human
resources in Cactus, what, if anything, did Swift do to
prevent people who had committed identity theft from
being hired at that facility?

A. It was the things that we just talked
about.

Q. And was it your understanding that most
people who committed identity theft who were applying
to Swift facilities were illegal immigrants?

MR. YOULE: Objection to form for lack of
foundation. You can answer if you can.

A. I don't really understand the question.

Q. When you were the director of human
resources at Cactus, did you equate identity theft with
someone being an illegal immigrant?

A. Not necessarily.

Q. Was it your experience that the vast
majority of people who either you knew had committed
identity theft or you suspected had committed identity
theft were illegal aliens?

MR. YOULE: Objection to form for lack of
foundation. You can answer if you can.

A. Again, I don't know.

Q. Well, from your experience as director of

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human resources, could you ~- did you ever see an
occasion on which someone who you did not think was an
illegal immigrant. was committing identity theft for
some reason other than because they were not legally
entitled to work in this country?

A. Yes.

Q. Give me -- tell me about that, or give me
some examples of that.

A. I don't remember anything exact, but there
was an individual who was using his -- well, he was
using his father's identity, because he had worked for
us previously and his father had not. And he had a
poor work history, and his father obviously would not

have had one. I couldn't remember the name.

Q. Was that an isolated incident that you
remember?
A. There may have been a couple other similar -

to that, but I don't remember.

Q. When you were the director of human
resources at Cactus, were you ever involved in
terminating an employee who was suspected of identity
theft?

A. Yes.

Q. And on those instances in which you

terminated an employee who was suspected of identity

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theft, why were you terminating them?

A. More times than not, they would tell us
that they weren't who they said they were.

Q. And why would that be a basis for
termination?

A. Because they had falsified the information
that they provided to us and weren't eligible to work
in the United States.

Q. How did you know that because they
falsified the information, that they were not eligible
to work in the United States?

A. Because they would tell us.

Q. I mean, give me -- just sort of paraphrase
what kind of things they would say. What would be a
typical statement?

A. Well, they'd tell us that they bought
their papers from somebody else, or that they didn't

have good papers so they were using these, that they

weren't legal to work.

Q. And in those instances, the termination by
Swift was not because of the use of improper documents;
it was because that person wasn't legally entitled to

work in the United States?

MR. YOULE: Objection to form.

Q. Is that correct?

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A. Could you ask that again?

Q. ‘Sure. When someone was terminated because
they, for example, admitted that they had been using
false papers, the reason they were terminated was
because they were not entitled to legally work in the
United States; is that right?

MR. YOULE: Same objection.
A. I guess I don't understand what you're

saying. I mean, they told us that they were

unauthorized to work.

Q. And is that why they were terminated?
A. Yes.
Q. Because other employees under other

circumstances could admit to using false ‘papers in the
past, and they could still be retained by Swift if they
had obtained the right to work legally in the United

States; is that right?

A. I don't know of any of those situations
‘happening.
Q. What -- when you were director of human

resources at Cactus, what was the self-reporting policy
of Swift about employees who self-reported that they
had used false papers in the past?

A. I'm unaware that that situation ever

occurred --

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Q. Okay.

A. -- when I was there.

Q. Has that occurred at Greeley?

A. Not since I've been here, no.

Q. Are you -~- as director of human resources

at Cactus and then at Greeley, are you aware of what
the official policy is on someone who self-reports that
they have been working at your plant for some period of
time under a false identity, but now they've obtained
the right to work legally in the United States and they
want to continue to work for your company?

A. I'm not aware specifically -- I mean, I
don't have it on the tip of my tongue. It's not
something that typically occurs.

Q. Well, it's not something that you're aware
of is what you're saying.

A. No.

Q. Let me show you some documents that are in
that notebook in front of you.

A. Okay.

Q. © Looking at Exhibit 11, and turning to
the -- I guess the fourth page. The number in the
bottom right-hand corner would be 8188. Do you see

that?

A. Okay.

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Q. Have you ever seen that before?

A. Yes.

Q. And what is this document?

A. This is our employment eligibility and

identity verification policy.

Q. And if you'd turn to the bottom of page
8194, do you see at the bottom of the page it says,
“Note: Self-reporting protocol"?

A. Okay.

Q. And it says, "In the event that an
employee voluntarily reports that he or she is employed
by Swift under a false name and/or Social Security
number, paren, or otherwise has engaged in identity
fraud, paren, the employee's employment may be
continued only upon the approval of the vice president,
human resources field ops and labor relations or the
senior vice president of human resources provided that
the employee must reapply for employment, successfully
complete the employment application process, and

complete the EEIVP, which includes the processing of a

new I-9." Did I read that correctly? -

A. Yes.

Q. Were you aware of that protocol prior to
today?

A. I knew we had a protocol. I mean, I don't

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know what the -- that's something we don't run across.
QO. So, for example, if we look back at
Exhibit 7 -- well, let me ask you another question. So

you knew there was a protocol, but you didn't know
specifically what it was?

A. I would have had to look at it.

Q. Okay. For example, if you'd turn to the
page number 3883 at the bottom right-hand corner, JI
think it's the fourth page in. You're in the right
exhibit. It's the sixth page in. There you go.

For example, this employee, Lucas Garcia
Bernabe, a/k/a Augustin Gonzales Ramos, it says,
"Employee came to HR and stated that he has been

working under different documents but now has his real

documents. * And the resolution was, "Verified
employment authorization card, dots connected." Do you
see that?

A. Yes.

QO. In your time as director of HR at Cactus

and Greeley, you never had a situation where someone
came forward and said they had been working under false
Papers but now had the right papers?

A. I don't recall any of that.

Q. Would that type of person have come to you

or to someone else to self-report?

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A. They would have came to me eventually.

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Even if it had been through one of my other HR folks,

it would have came to me.

Q. And you don't recall that happening?

A. No.

Q. What is a tips form or tips sheet?

A. It's this sheet we're looking at.

Q. And when was that instituted at Swift?

MR. YOULE: Let's be clear. Are you
talking about this particular sheet or the entire tips
policy?

Q. I guess we'll start with the kind of tips
policy, whatever that may have been.

A. I have to look at the policy, but I
believe that -- I mean, my guess --

MR. YOULE: Don't guess.

A. I don't -- I don't know when it was. I
mean, I'd have to look.

Q. When you were director of human resources
at Cactus, were you aware of a problem with illegal
immigrants being employed at that facility?

A. No.

Q. Were you aware of there being a problem
with persons who had committed identity left being

employed at that facility?

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A. No.

Q. Did you ever become aware of such a
problem?

A. No.

Q. Were you at the Cactus plant when the ICE

raids occurred in December 2006?

A. Yes.

Q. What was your understanding as to what
those raids involved?

A. My understanding is, it was ICE agents
verifying eligibility for work for employees.

Q. And how many employees did you lose at
that Cactus plant as a result of those raids?

A. 200 and something.

Q. Out of how many total?

A. Almost 3,000.

Q. At that facility, there were almost
3,000?

A. I believe that's close.

Q. If the ICE -- I don't have an extra one
for an exhibit, but if ICE claimed they arrested 297
employees at the Cactus facility as part of their
raids in December 2006, would you disagree with that

number?

A. No. I never got an official number list

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from ICE.

Q. And did Swift terminate the employment of
the people that had been arrested by ICE in the

December 2006 raids?
A. Yes.

Q. Why was that done?

A. Unresolved identity.

Q. Meaning what?

A. That their identity was unresolved.

Q. When were those employees. terminated?

A. I believe -- it was shortly after the
event.

Q. Were all the people that were terminated

from the Cactus facility people that never returned to
work after the ICE raids, or had some of them returned

to the plant?

A. I think, in the days following, some folks
had returned to the plant.

Q. And those folks who had been detained by
ICE in the raids and then returned to the plant, how
did you deal with them as far as whether they could

continue to work there or not?
A. I believe -- well, there were some
individuals that we contacted the ICE agents and asked

are they authorized or not. And they would tell us yes.

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or no.

Q. And were you involved in the efforts to
hire replacements for those workers who had been

terminated as a result of the ICE raids?

A. Yes.
Q. What was your specific role in that?
A. I was the lead at, you know, building that

facility back.

Q. What efforts did you undertake to rehire
workers for that facility?

A. Many. We recruited heavily in our local
area. We recruited kind of in outwardly going circles

further and further away from the facility.

Q. Were there some recruiting centers open

that were recruiting for all the different facilities?

A. Yes.

Q. Where were those located?

A. There was one in El Paso and one in
McAllen.

Q. And why were those areas chosen?

A. Well, when we first started the process of

rebuilding in Cactus, we looked at areas with high
unemployment, high population, areas with industrial or
agricultural work. And through that process, I think

we ended up in those locations.

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Q. How long did it take you to get the
staffing levels back up to where they had been in
Cactus before the ICE raids?

A. I believe it was in May.

Q. Of 2007?

A. Yes.

Q. What role did you have in Swift's actions
in or around October 2006 in interviewing certain
employees who were suspected of possibly committing
identity theft?

A. Very little.

Q. Okay. There's been -- my understanding
from previous testimony is that Swift took certain
criteria that had been developed by a company called
Border Management Strategies and selected a group of
employees who -- for which there were certain

indicators that they might have committed identity

theft, and then pulled those people out to interview

them. Are you familiar with that process?

A. I'm familiar that there was a process.
Q. Were you involved in it at all?
A. My part of that process was making sure

that there were rooms available. I was not involved in
the interviewing. And then ensuring that the employees

that were requested got to the interviews.

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Q. That was it?

A. Uh-huh.

MR. YOULE: You need to Say yes.

A. Yes. I'm sorry.

Q. That's all right.

How many employees did you lose from the
Cactus facility as a result of that action?

A. I don't know.

Q. Was it five? Was it a hundred?

A. I don't know what the number was. It was
more than five.

Q. Other than what you were told by corporate
on any changes that occurred in 2006 about hiring or
trying to ferret out illegal aliens, did you do
anything on your own, as the director of human
resources at Cactus, to address those issues?

A. No. Followed the policies.

Q. The policies set by corporate?
A. Yes.
Q. Were you allowed to develop your own

policies for each plant, or were you supposed to follow

what came down from corporate?
A. I don't know that that ever came up.
Q. And have you developed any of your own

policies and procedures that you use in Greeley other

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than what has been handed down from corporate?

A. No.

Q. Has the -- from your observations, did the
ethnic makeup of the workforce at Cactus change from
before the ICE raids to after?

A. Not significantly.

Q. Noticeably in any way?

A. Yes.

Q. In what respect?

A. I think, as we hired more and more people

that lived in Amarillo, it changed.

Q. It changed how? More whites? Your

African Americans? More what?

A. That's the thing. I don't know if it was.
It was -- we probably, at that point -- no. TI don't
know that there was a change after the ICE raids.

Q. What were you getting at when you started

to talk about Amarillo?

A. I think there was a period of time in
which we saw a larger portion -- or a large -- larger
population of African -- east Africans that began

working for us. I don't remember when that was,

though.

Q. That was at Cactus?

A. Yes.

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Q. East African being like --

A. Sudan.

Q. And you don't know whether that was before
or after the raids?

A. No. Because we began recruiting more
aggressively in Amarillo even before. It was the
summer before.

Q. And what was your understanding as to why
that was being done?

A. That facility has a very small local
population base. And for us to be able to have an

applicant flow sufficient, you have to go to larger

populations.

Q. But was there an effort from sort of March
of 2006 forward to start building up the staffing

levels at these plants in anticipation of the ICE

raids?
A. No.
‘MR. YOULE: Objection to form for lack of
foundation.
Q. Were you aware of that?
A. No.
Q. You were never told in 2006 to try to

overstaff or overhire at Cactus in anticipation of the

ICE raids?

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A. No.

Q. Doug Schult never told you that that was
happening?

A. No.

Q. Did you increase your hiring or recruiting

efforts at any point in 2006 prior to the ICE raids?

A. Yes.
Q. When was that?
A. I don't recall. But it would have been

prior to our peak season.

Q. Were you told why that was being done?

A. It's peak season. The opportunity for the
facility to run more hours.

Q. Were you aware of the wage increases that
occurred in October of 2006?

A. There was a point where we increased the
starting pay, but it didn't really affect wages.

Q. Well, it affected the wages for the new

hires, right?

A. Yes.

Q. Do you know why that was done?

A. To maintain competitive and be
competitive.

Q. Competitive with who?

A. I would imagine with our competition.

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Q. Were you aware that ICE -- when did you
become aware, when you were at Cactus, that ICE was
looking into or conducting some kind of investigation
regarding Swift processing facilities?

A. I guess I would have been first aware when
they subpoenaed our I-9s.

Q. Was that when they subpoenaed the I-9s at

Cactus or when they had done that through a different

plant?

A. In Cactus is when I would have first

thought that there was something going on there.

Q. And who was involved in pulling those I-9s
together?
A. The HR directors in each facility would be

in charge of theirs. For ours, it was our entire HR

staff.

Q. And did you send the originals or copies
to ICE?

A. We sent the originals.

Q. Did Cactus receive those back yet from
ICE?

A. I don't know.

Q. Has Greeley -- did Greeley receive theirs

back from ICE?

A. Yes.

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Q. So is it your testimony that there was
nothing unusual about the step-up in hiring that
occurred in the fall of 2006 at Swift processing plants”
prior to the ICE raids?

MR. YOULE: Objection to form for lack of
foundation. You can answer if you know.

A. I don't know -- I mean, I know that we
did.. I don't know why.

Q. Nobody told you?

A. No. I don't remember that, no.
Q. At the time that you were at the Cactus
plant, were any of the employees -- strike that.

At the time you were at the Cactus plant,
were any of the management level employees ever
investigated for possibly being involved in hiring
illegal immigrants or helping them with false identity
documents?

A. Not that I remember.
Q. Did that ever happen in Greeley when you
were there?

A. No.

Q. What was the ethnic composition of the
workers at the Louisville facility compared to, let's

Say, Cactus or Greeley?

MR. YOULE: Objection to form for lack of

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foundation.

Q. From when you were there at Louisville to

when you were at Cactus and then Greeley?

MR. YOULE: Same objection. You can
answer if you know.
A. Louisville was a metropolitan city, very
diverse. You know, people from all races and
ethnicities at that facility.

Q. What about -- how does that compare to

Cactus or Greeley?

A. In Cactus and Greeley, there's more of a

Hispanic workforce.

Q. More so than at Louisville?
A. Yes.
Q.: Were you aware at Cactus of a large number

of workers from Guatamala who worked there at the

facility?
A. No.
Q. Or any other country besides Mexico? Any

other foreign country?
A. No.

Q. Were there issues at Cactus when you were
there of workers speaking or writing some dialect of

Spanish or some other language other than English or

Spanish?

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A. Yes.

Q. Tell me about that.

A. rt was my understanding that there were
people who did not -- I don't speak Spanish -- who did
not speak the traditional Spanish. And there were
communication issues. .

Q. And how did you deal with those?

A. I would find an employee who was able to

speak either English and that dialect or Spanish and

that dialect.

Q. Do you recall what any of the dialects

were?

A. No.

Q. What, if anything -- what benefits, if
any, has Swift provided to employees -- strike that.

Has Swift in the past provided some kind

of subsidy for transportation costs for job applicants

to their plants?

A. For job applicants?

Q. Yes.

A. Not that I'm aware of.

Q. What. about for new hires?
A. Yes.

Q. And when did that occur? Or when has that

occurred?

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A. I believe it would have been, like, April

of -- April of 2007.

Q. Were you still at Cactus then, or were you
at Greeley?

A. Cactus.

Q. And tell me what you know about that.

A. We had a large number of employees who
were living in Amarillo, because there was no housing
in Cactus. There had just been a tornado that came
through Cactus and destroyed this small town's housing.
So they were living in Amarillo. And to assist and
offset that cost, we provided buses for those folks
living in Amarillo.

Q. Buses to come to work each day?

A. Yes.

Q. And what about anything that was done to
subsidize or assist with housing?

A. If there were some folks who were
relocating from outside a certain area, then they would
be provided a certain amount of assistance in their
first month's rent. Those type things.

Q. And when did that first happen, to your

knowledge?

A. Probably would have been about the same

time, in April of ‘07.

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Q.

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Since -- we discussed a minute ago what

happened in October of 2006 where there were groups of

employees who were interviewed because there were

concerns about their potentially being involved in

identity theft, correct?

A.

Q.

Yes.

Has that happened -- to your knowledge,

has that happened in Cactus or Greeley since October

2006?

A.

Q.

“No.

Do you know why not?

No.

Other than the subpoena for I-9 forms that

came to the Cactus facility sometime in 2006, are you

aware of any other subpoenas to either the Cactus or

Greeley facility since then?

A.
Q.
A.
Q.

A.

From who?

I guess from any governmental agency.
Oh. Yes.

Tell me about that.

I think there's a lot of lawsuits that

were related to that that we received subpoenas from --

for.

Q.

Putting aside civil lawsuits and focusing

more on a governmental entity like ICE or Homeland

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Security or Justice Department, are you aware of any

subpoenas like those?

A. I don't remember any, no.
Q. Are you aware that Border Management
Services -- Border Management Services --

MR. YOULE: Strategies.

Q. Is it Strategies?
A. Strategies.
Q. Border Management Strategies does an

annual audit of the various plants?

A. Yes.

Q. And do you recall what their assessment of
the Cactus facility was for 2007?

A. No.

Q. Was it good marks, bad marks? Average?

Do you remember?

A. There's been a lot that's happened since
then. I don't remember.

Q. What about at Greeley?

A. In the last recently, it was good.

Q. And how were those audits -- how were

_ those results conveyed to you? Was it in writing?

A. Yes.
Q. And is it like a letter grade, or how is
it graded?

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A. I don't know for sure.

Q. But you were happy with the Greeley
audit?

A. Yes.

Q. Were there ever any -- strike that.

Were you ever aware, when you were in

Cactus, of any coyotes who were assisting people to
come into the country illegally so that they could work
for Swift?

A. No.

QO. Were any employees at Cactus ever
investigated for working with coyotes in that regard?

A. No.

Q. Other than the employee -- the hourly
production employees who were arrested by ICE in
December 2006, in the time you were at the Cactus
facility, was anyone arrested for potential immigration
violations or identity theft?

A. Yeah, I believe there were. Yes.

—Q. And who were those people?

A. I don't know.

Q. Were they management or were they
production employees?

A. Production employees.

Q. So that had occurred both before the raid

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and after the raid?

A. I don't remember.

Q. Were you aware of any management level
employees at the Cactus facility ever being arrested
for potential immigration violations or identity
theft?

A. No.

Q. Are you aware of any investigation that
Swift has conducted of a man named Oscar Ariaga at the

Swift Cactus facility.

A. I'm aware of Oscar.
Q. Are you aware of any investigation of him
by Swift?

A. Nothing that -- no. I mean, nothing that

would show anything.

Q. What do you mean by nothing that would
show anything?

A. Oscar is an HR manager at that facility.
And there are a lot of people in town that didn't like
him for different reasons. And people alleged all

kinds of things about Oscar, but nothing ever had

substance.
Q. Is he still there?
A. Yes.

Q. And he's the HR manager?

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A. Yes.

Q. And was he the HR manager under you when
you were the HR director?

A. Yes.

Q. Were the allegations made against
Mr. Ariaga investigated?

. A. Yes.

Q. By who?

A. By me.

Q.. Tell me some of the -- in general terms,
what were some of the allegations?

A. I don't remember exactly all of them.
There were issues about -- you know, that Oscar would
play favoritism toward people. There were allegations
that he would only hire -- approve for rehire his
friends or people that he knew or people that had done

~

him favors on other things.

Most of the allegations were brought to me
by Oscar himself. He had heard a rumor in the

community, and I would investigate it.
Q. Were there ever allegations that he was

involved in helping workers obtain fraudulent identity

documents?
A. I don't remember that.
Q. Were there ever any allegations that you

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heard that he was involved in working with coyotes?

A. I don't remember that.

Q. And did anyone other than you ever
investigate the allegations that you described to me
about Mr. Ariaga?

A. Not that I'm aware of.

Q. Did you ever report any of the

“allegations about Mr. Ariaga to any of your superiors

at Swift?

A. I believe that I discussed them with
Doug.

Q. Doug Schult?

A. Yeah.

Q. And what did you tell him and what did he

tell you?
A. What we had found and what we were doing.
Q. Did he approve?

MR. YOULE: Objection to form for lack of

foundation.
A. I don't know.
Q. He never told you to do anything different

than what you were doing?

A. No.

Q. And who is your HR manager now at the

Greeley facility?

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It's a vacant position.
Are you looking for a replacement?

Yes,

MR. PEARSON: Why don't you give me a

couple minutes to look over my notes.

Q.
was not well

A.

Q.

or --

issues.
Q.
you, though,
A.
Q.

A.

Q.

MR. YOULE: Sure.

(Recess taken, 2:42 p.m. to 2:47 p.m.)

(BY MR. PEARSON) You said that Mr. Ariaga
liked by some people in the community?
Yes.

Do you know why that is?

Probably because he fired them.

Why? Was he responsible for firings

He would handle most of the discipline

Would those decisions typically be made by
and then carried out by him, or --

No.

Who would make the decision?

He would.

Have you ever been interviewed by ICE, the

Department of Homeland Security, the Justice

Department, or the FBI?

A.

Yes.

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Q. When was that?
A. I don't remember. It was in '07.
Q. And which agency was it?

A. I think there was an ICE -- there was an

ICE representative there, and maybe somebody from the

Department of Justice.
Q. Where did that occur?
A. In Amarillo.
QO. And what was the purpose of that?

MR. YOULE: Objection to form for lack of

foundation.

Q. You can answer if you can.
MR. YOULE: -Were you told?
THE DEPONENT: Yes.
MR. YOULE: Okay. Go ahead.
A. It was related to a lawsuit that the UFCW

had filed against the United States government.

Q. (BY MR. PEARSON) What was that lawsuit

about?

A. That the -- my understanding is that the
UFCW was saying that the government's actions on the
day of the raid were inappropriate.

Q. And what kinds of questions were you
asked? What were the topics of the questions?

A. What happened that day.

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Q. Any other time that you've been
interviewed by any of those agencies I mentioned?

A. Not that I remember.

Q. Other than the employees who were arrested
during the ICE raids of December 2006, are you aware of
any other employees at the Cactus facility that were

interviewed by ICE, DHS, the FBI, or the Justice

Department ?
A. Yes.
Q. Who?
A. I don't know the names.
Q. What were they being interviewed about?
A. I believe it”™was in regards to the

employment eligibility status.
Q. And were those hourly workers?
A. Yes.
Q. And when did that occur?
A. It was in '07.
Q. And what happened to those employees?
A. They took them.
Q. How many was that? How many people?
A. I don't remember.
Q. Do you know when in '07 that was?

A. It would have been -- I don't remember

exactly. Late spring, early summer.

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Q. Was it more than a handful of people, or
just a handful?

A. A handful.

Q. Were those all production workers?

A. As I remember, yes.

Q. Other than the -- and were those folks all
terminated by Swift?

A. I don't remember.

Q. Were you ever told by ICE what the status
was, the immigration status, of those people? .

A. I don't know.

Q. Other than the employees at the Greeley
facility who were arrested-in the December 2006 ICE
raids, were you aware of any other employees in Greeley

who have been interviewed by ICE, DHS, FBI, or Justice

Department?
A. Yes.
Q. Who were those?
A. I don't know their names.
Q. Were they also employees who were being

interviewed about their immigration status?

A. No. I don't know what they were being
interviewed about.

Q. When did that occur?

A. Since I've been in Greeley.

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Q. Which has been since when?

A. Since July of '07.

Q. Were those production workers or
management or --

A. Yes, production workers.

Q. Were they arrested?

A. No.

Q. Were they terminated by Swift?

A. No.

Q. As the director of human resources for the
Greeley plant, wasn't it -- strike that.

Weren't you concerned about wanting to

-know what the purpose of those interviews had been?

A. Yes.

Q. Did you ask the employees or ICE or anyone
else?

A. No. ICE wouldn't tell you necessarily.

Q. Did you ask the workers?

A. No.

Q. Why not?

A. I didn't see any need to.

Q. It didn't bother you that they had been
interviewed by ICE?

A. No.

Q. Was that something that occurred

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regularly, or was that unusual?

A. Unusual.

Q. And are those particular workers still
there, to your knowledge?

A. I have no idea.

Q. Did you ask ICE why they would interview.
those particular workers in Greeley?

A. Yes.

Q. What did they tell you?

A. They had warrants.

Q. That's all they told you?

A. Uh-huh.

Q. Anything else they told you?

A. No.

Q. I don't know if I just asked you this or
not, but were those folks arrested?

A. No.

Q. And has that occurred only once since

you've been in Greeley?

A. No.

Q. It's occurred more than once?

A. Yes.

Q. Approximately how many times?

A. Maybe two or three times.

Q. And on any of those occasions, did you

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learn either from the employee or from ICE why those

people were being interviewed?

A. I don't remember, no.
Q. When was the most recent time that
happened?

A. I don't know.

Q. The last few months?

A. Probably. I've only been there a few
months, so it's not --

Q. Well, how long have you been at Greeley?
Since when?

A. Since July.

Q. Well, I mean, you know, when I say last
few months, January, February, March of '08.

A. I don't remember any during that time.

Q. Were any of those employees that you aware
of being interviewed by ICE at the Greeley facility
terminated because of information that was learned at
that time?

A. I don't remember.

Q. Both at Cactus and then in Greeley, when
you became aware that ICE was interviewing a particular
employee, did you then go and do any kind of an audit
or review of their paperwork?

A. Yeah.

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Q. When?
A. I don't remember dates. I mean --
Q. No. But, I mean, was that each time that

would happen, you would do that? Or just on some
occasions?

A. There were a lot -- I mean, there were
occasions where law enforcement would come to speak to
an employee. It might be to serve a warrant, it might
not be. Every time we're not going to review that
employee's records.

Q. Why not?

A. Why would we? I didn't see any reason to.

Q. Well, on the occasions on which you did,.
why did you?

A. If the employee was arrested or if we
were told that there was an issue with the identity
theft.

Q. On those occasions at Cactus and Greeley
on which you were aware that employees had been
interviewed by ICE, did you ever sit down and try to
interview those employees to see what they talked about
with ICE?

A. No.

Q. And why not?

A. Didn't see any need to.

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MR. PEARSON: I'11 pass the witness.
MR. YOULE: No questions.
WHEREUPON, the within proceedings were

concluded at the approximate hour of 2:57 p.m. on.the

9th day of April, 2008.

* * * * *

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I, ERIC A. RAY, do hereby certify that I have
read the above and foregoing deposition and that the
same is a true and accurate transcription of my
testimony, except for attached amendments, if any.

Amendments attached ( ) Yes ( ) No

ERIC A. RAY

The signature above of ERIC A. RAY was
subscribed and sworn.to before me in the county of

, State of Colorado, this day

of , 2008.

Notary Public

My commission expires:

Blanca Valenzuela 4/9/08(sz)

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REPORTER'S CERTIFICATE

STATE OF COLORADO )
) ss.

CITY AND COUNTY OF DENVER )

I, SHARON L. SZOTAK, Registered Professional
Reporter, Certified Realtime Reporter, and Notary
Public, State of Colorado, do hereby certify that
previous to the commencement of the examination, the
said ERIC A. RAY was duly sworn by me to testify to the
truth in relation to the matters in controversy between
the parties hereto; that the said deposition was taken
in machine shorthand by me at the time and place
aforesaid and was thereafter reduced to typewritten
form; that the foregoing is a true transcript of the
questions asked, testimony given, and proceedings had.

I further certify that I am not employed by,
related to, nor of counsel for any of the parties

herein, nor otherwise interested in the outcome of this

litigation.

IN WITNESS WHEREOF, I have affixed my
signature this 14th day of April, 2008.

My commission expires June 10, 2008.

__X_ Reading and Signing was requested.
Reading and Signing was waived.

Reading and Signing is not required.

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